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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )   Chapter 11
 In re:                                               )
                                                      )   Case No. 23-22655
 BCR PINEWOOD REALTY LLC,                             )
                                                      )
                          Debtor.                     )
                                                      )

                        DECLARATION OF BENJAMIN RINGEL
                    PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

          I, Benjamin Ringel, state the following under penalty of perjury:

          1.     I am a managing member of BCR Pinewood Realty LLC, the debtor-in-possession

(the “Debtor”) in the above-captioned Chapter 11 case. I am fully familiar with the facts and

circumstances set forth below based upon my personal knowledge and/or my review of the

Debtor’s books and records.

          2.     I submit this declaration on behalf of the Debtor in support of the Debtor’s

voluntary petition, filed on September 7, 2023 (the “Petition Date”), for relief under Chapter 11 of

Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and

pursuant to Rule 1007-2 of the Local Bankruptcy Rules of Bankruptcy Procedure for the United

States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

I.        Preliminary Statement

          3.     This Chapter 11 case has been filed to maximize the value of the Debtor’s one and

only asset, its real property commonly known as Pinewood Apartments, located at 1609-15

Monmouth Avenue, Lakewood, New Jersey 08701 (the “Property”), through a sale of the Property

and the global resolution of various pending actions involving the Debtor. The Property is an

apartment complex on fourteen (14) acres of land, consisting of 284 residential apartments and no
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other commercial operations. The Property is managed entirely by a third-party management

company, Affiliated Management Corporation (“Affiliated”).

II.         Background and Capital Structure

            4.        The Debtor is a Delaware limited liability company formed on February 18, 2011

pursuant to the Delaware Limited Liability Company Act. The Debtor is solely owned by BCR

Lakewood Holdings LLC (“Holdco”), a pass-through Delaware limited liability company. Fifty

percent (50%) of the membership interests in Holdco are held by BR Lakewood LLC (“BR”) and

the other fifty percent (50%) of the membership interests in Holdco are held by CR Lakewood

LLC (“CR”), an entity solely owned by Chana Ringel. An organizational chart is attached hereto

as Exhibit A.

            5.        I, Benjamin Ringel, and Chana Ringel are the co-managers of both the Debtor and

Holdco.

            6.        The Debtor purchased the Property in May 2011 from the David Ringel Revocable

Trust and the Klara Ringel Revocable Trust in a structured transaction for $8 million in cash and

annuity payments to Klara Ringel for life. David Ringel passed away in October 2008 and Klara

Ringel passed away in June 2018.

III.        Events Leading to the Chapter 11 Case

       A.        Holdco Litigation

            7.        In 2015, Chana Ringel filed a lawsuit in the Superior Court of New Jersey,

Chancery Division, Ocean County (the “NJ Court”) against BR and me in my individual capacity,

claiming that I used $700,000 of Holdco funds to pay expenses and debt service for other properties

owned jointly by Chana and me. By this lawsuit, Chana sought, among other relief, to take BR’s

ownership interest in Holdco as punitive damages for my alleged actions. The lawsuit is titled




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Chana Ringel et al. v. Benjamin Ringel, BR Lakewood, BCR Lakewood et al., Docket Nos. OCM-

C-127-15 and OCM-C-152-16 (the “Holdco Litigation”).

       8.      The Holdco operating agreement sets forth a detailed dispute resolution process

whereby the managers submit all of their disagreements to arbitration by a real estate owner, as

described in Section 5.9 of that certain Limited Liability Company Agreement of BCR Lakewood

Holdings LLC, dated as of December 23, 2010, a copy of which is attached hereto as Exhibit B

(the “Holdco LLC Agreement”). Chana Ringel violated this provision of the Holdco LLC

Agreement by instituting the Holdco Litigation.

       9.      After years of motion practice, a trial began in February 2020. On February 27,

2020, Chana Ringel agreed to a settlement proffered by the NJ Court and my attorney, which

culminated in a settlement agreement. A few days later, Chana reneged on the settlement

agreement.

       10.     We engaged in months of litigation to enforce the settlement agreement until

ultimately, on September 4, 2020, the NJ Court entered an order memorializing the February 27,

2020 settlement agreement, providing for Holdco to wind down by dividing assets and resolving

remaining financial disputes. A copy of the settlement order is attached hereto as Exhibit C, with

the revised and executed settlement agreement attached thereto as Exhibit A (the “Settlement

Agreement”).

       11.     Pursuant to the Settlement Agreement, in January 2022, two of the five properties

owned by entities owned by Holdco were transferred to BR and two were transferred to CR. The

remaining property, the Property, was to be sold to a third-party purchaser or to either myself or

Chana Ringel, in accordance with the terms of the Settlement Agreement.




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        12.    In June 2023, the arbitrator awarded Chana Ringel $1,230,000. An appeal is being

filed with respect to $650,000 of the arbitration award. A copy of the arbitration award is attached

hereto as Exhibit D (the “Arbitration Award”).         Pursuant to Section 6 of the Settlement

Agreement, upon the sale of the Property, $2.5 million of sales proceeds are to be set aside by each

of Chana and me to be used to satisfy any arbitration award. Accordingly, Chana is a creditor in

this Chapter 11 case with a non-recourse claim for the Arbitration Award due to her right to receive

payment from the sale proceeds.

   B.    Sale Process

        13.    In April 2021, a purchase and sale agreement was agreed to in principle by and

between the Debtor and Rushmore Capital, LLC (“Rushmore”) for the purchase of the Property

for $47,100,000 (the “Rushmore Sale Agreement”). A copy of the Rushmore Sale Agreement (as

eventually executed on February 8, 2022) is attached hereto as Exhibit E. Section 11(E) of the

Rushmore Sale Agreement provides that Rushmore represents that it has all of the funds to

complete the purchase of the Property.

        14.    On July 28, 2021, BR bid $46,391,000 for the Property in a fully financed offer, on

a net basis pursuant to Section 2.i. of the Settlement Agreement, rendering BR’s bid the superior

offer. However, Chana Ringel initiated motion practice to sell the Property to Rushmore.

        15.    On August 25, 2021, the NJ Court entered an order awarding the Property to

Rushmore, which order BR promptly appealed. Pending the appeal, Rushmore requested that its

non-refundable $2,500,000 deposit be returned and the closing of the sale be delayed until the

appeal was decided. BR agreed to extend the closing, reaching a stipulation dated April 13, 2022

between BR and Rushmore, a copy of which is attached hereto as Exhibit F.




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        16.    On October 20, 2022, the appellate court ruled in favor of Rushmore, requiring the

sale of the Property to occur by December 19, 2022, pursuant to the terms of the stipulation. After

BR filed an additional appeal, Rushmore moved for an extension of the closing deadline pending

that appeal, providing a new closing deadline of October 10, 2023.

        17.    On August 9, 2023, Rushmore filed yet another motion to further delay the closing

of the Property. Upon information and belief, due to the changing interest rate environment and

Rushmore’s existing assets, Rushmore does not have sufficient cash on hand to close and has no

intention of ever closing on the sale pursuant to the Sale Agreement.

        18.    If the sale is closes, the Debtor will receive close to $40 million in cash.

   C.    Miscellaneous Litigation

        19.    During the period from July 2015 through and including July 2020, three default

judgments were entered against me and a separate, non-Debtor entity, AC I Toms River LLC

(“AC I”), which is partially owned by me and Chana through other entities. Specifically, AC I is

owned by AC I MZ Toms River LLC (“AC I MZ”), which is owned thirty percent (30%) by me,

twenty-five percent (25%) by Chana, and forty-five percent (45%) owned by two other individuals.

        20.    In the last year, while the Rushmore sale has been pending, all three counterparties

in each of these default judgment actions have moved in the NJ Court to attach their judgments to

the Property’s cash flow and the proceeds of the sale of the Property through charging orders and

real property liens. In connection with these actions, Chana’s attorney has described her as a

creditor entitled to payment on account of the Arbitration Award and, consequently, the eventual

sale of the Property. See Letter from Matthew N. Fiorovanti, Esq. to the Honorable Francis R.

Hodgson, Jr., A.J.S.C (June 29, 2023) (attached hereto as Exhibit G).




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       21.     The three counterparties (and creditors of the Debtor) are Atalaya Asset

Management (“Atalaya”), JDWC LLC (“JDWC”) and Ladder Capital (“Ladder”).

       22.     Atalaya received a default judgment against me and other non-Debtor affiliates in

the amount of $13,177,056.64. In January 2023, Atalaya filed an affidavit that a $9,000,000 partial

payment was made which reduced the judgment to $4,177,056.64 plus interest from the date of

the judgment. The Debtor is reviewing the basis of the partial payment affidavit to confirm the

amount is correct.

       23.     JDWC’s predecessor, RCG Longview REIT Holdings LLC (“RCG”), obtained a

deficiency judgment against me in 2018. The JDWC judgment arises out of a carveout I executed

as manager of AC I to procure a loan to refinance a shopping center located in Toms River, New

Jersey. The origin of the JDWC judgment was a 2015 default judgment against AC I and myself,

as neither party had counsel at that time.

       24.     Under Section 5.5 of the AC I MZ operating agreement, I am indemnified by AC I

MZ for any losses I suffer in connection with my position as the manager of AC I MZ. A copy of

the AC I MZ operating agreement is attached hereto as Exhibit H.

       25.     In 2016, Chana retained Giordano, Halleran & Ciesla, P.C. (“GHC”) as her counsel

in the Holdco Litigation. GHC also represented RCG, the lender to AC I, in RCG’s action against

AC I and me in the action entitled RCG LV Debt IV Non-Reit Asset Holdings, LLC v. AC I Toms

River, LLC, et al. Chana was a beneficial member of AC I during the lawsuit through her

ownership interest in AC I MZ. GHC was accordingly representing both a lender and a beneficial

owner of the borrower entity it was suing for foreclosure and a money judgment.              Upon

information and belief, Chana entered into a fee payment or fee guaranty agreement with RCG

and then with JDWC, providing for the payment of her GHC fees in exchange for taking certain




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actions against AC I which benefited RCG and ultimately JDWC. As of today, both Chana and

JDWC are represented by GHC. RCG was dissolved in 2017, and RCG apparently assigned its

interest in the AC I action and judgment against me to JDWC.

        26.     In 2022, Chana again violated the Settlement Order by bringing an action in New

York state court against me and the Ringel Children’s Trust, which jointly own BR. By this action,

Chana sought to void allegedly fraudulent transfers I made to my children and represented to the

court that the Settlement Order was not final. BR and I filed an order to show cause (the “OSC”),

seeking enforcement of the Settlement Order by assessing punitive monetary damages or,

alternatively, voiding the Settlement Order. The OSC, a copy of which is attached hereto as

Exhibit I, remains pending as of the date hereof.

IV.     Intentions for the Chapter 11 Case

        27.     The Debtor intends to assume the Rushmore Sale Agreement and effectuate the sale

of the Property to maximize value for the benefit of the Debtor and all of its stakeholders. In the

event that the Rushmore sale does not close, the Debtor intends to keep Rushmore’s $2,500,000

deposit, which will be used to satisfy creditors’ claims.

        28.     In preparation for the possibility that the Rushmore sale does not close, the Debtor

has already begun having discussions with Jones Lang LaSalle (“JLL”) to market the Property and

effectuate a sale pursuant to Section 363 of the Bankruptcy Code. The Debtor’s goal is to achieve

consummation of a sale by the first quarter of 2024 for at least $46.5 million.

        29.     My twenty percent (20%) ownership interest in the Property is my largest asset,

and I intend on utilizing it in its entirety to satisfy creditors’ claims.




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       30.      Through either the Rushmore sale closing or a Section 363 sale to a new purchaser,

the Debtor will receive close to $40 million, which will more than satisfy the Debtor’s estimated

claims pool.

       31.      The Debtor, along with its advisors, has been working diligently toward a value-

maximizing transaction to swiftly exit Chapter 11 through an expeditious sale process. To that

end, the Debtor anticipates filing a Chapter 11 plan of reorganization within the next month.

       32.      Given the complexity of the claims at issue and the creditors’ competing interests

and priorities, it is my belief that filing this Chapter 11 case is the most value-maximizing and

efficient method for resolving these claims with the assistance and oversight of the Bankruptcy

Court. Not only will this Chapter 11 case provide for a global resolution of all of these disputes,

it will allow the Debtor to preserve value for the benefit of all of its stakeholders by streamlining

these various actions in one forum and benefitting from the provisions of the Bankruptcy Code in

connection with the ultimate Section 363 sale of the Property.

                                    [Signature Page to Follow]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information and belief.


Dated: September 7, 2023
New York, New York

                                            By: /s/ Benjamin Ringel
                                            Benjamin Ringel
                                            Co-Managing Member
                                            BCR PINEWOOD REALTY LLC
                                            Debtor and Debtor-in-Possession




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